      Case 1:96-cr-00428-FB Document 9 Filed 04/09/19 Page 1 of 3 PageID #: 11

                                     UNITED STATES DISTRICT COURT
                                            PROBATION OFFICE

       SUSAN M.SM ALLEY,ESQ.
                                        DISTRICT OF NEW JERSEY            FILED
      CHIEF U.S. PROBATION OFFICER                                  JN CLERK'S OFFICE
                                                     April 4,2oF9®- D'STRICTC0URTED.N.Y. c!«1DEN?5j
         THOMAS A.LEAKAN
   SUPERVISING U.S. PROBATION OFFICER                          A     APR 09 2019        ★
           SHARON O'BRIEN                                                                   Mailing Addr«>g«'
   SUPERVISING U.S. PROBATION OFFICER
                                                                BROOKLYN OFFICE
                                                                                          50 WALNUT STREE''
                                                                                                ROOM 1001
                                                                                            NEWARK,NJ 07102

                                                                                            www.njp.uscourts.gov



   George Zappola
   22-24 West Front Street
   Apartment 201
   Red Bank, New Jersey 07701

                                                      Re: Termmatioii of Supervision

   Dear Mr. Zappola:

   On March 2, 2019, your supervised release term expired. You are still obligated as ordered by
   the Court, to pay your fine balance in full. Please forward all future payments (coupons
   enclosed)to the following address:

                                         OFFICE OF THE CLERK
                                          U.S. DISTRICT COURT
                                         FINANCE DEPARTMENT
                                        225 CADMAN PLAZA EAST
                                     BROOKLYN,NEW YORK 11201

  You will also find enclosed a booklet entitled "Restore Your Right to Vote in New Jersey", for
  your review and reference.

  We hope you benefitted fi-om the period of supervision and wish you success in the future. Do
  not hesitate to contact this office if you have any questions.

                                                           truly yours.



                                                      jrolyn M. Srev©
                                                     S^or U.S. Probation Officer


/CMS/plb
  Enclosures
  cc: Clerk's Office, ED/NY
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 For any questions, concerns, or additional coupons contact the Camden U.S
 Probation OfiBce at Phone Number:(856)757-5043.

                         PAYMENT COUPON
   FOR SPECIAL ASSESSMENT,FINE & RESTITUTION

 MAKE ALL MONEY ORDERS/CERTIFIED BANK THFrys pavarti?


PRINTNAME
                                                DOCKET NUMBER


 GEORGE ZAPPOLA                          1:96CR00428-001



PRINT ADDRESS
                                                 PHONE NO.




PAYMENT TO BE APPLIED TO:                      AMOUNT OF PAYMENT
 (S/A,FINE,RESTITUTION)
                                                    AND DATE




                 MAIL PAYMENTS TO;

                   OFFICE OF THE CLERK
                    U.S. DISTRICT COURT
             ATTN: FINANCE DEPARTMENT
                 225 CADMAN PLAZA EAST
             BROOKLYN,NEW YORK 11201
             PHONE NUMBER;(718)613-2600
                       Case 1:96-cr-00428-FB Document 9 Filed 04/09/19 Page 3 of 3 PageID #: 13
       U.S. COURTS                                                                    NEOPOST          FIRST-ClASS iFA;L

     U.S. PROBATION OFFICE
                                                                                      04/04/2019
 50 WALNUT STREET - RM. 1001                                                              ™i$000.502
NEWARK, NEW JERSEY 07102-3506


       OFFICtAL BUSINESS
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                                                          OFFICE OF THE CLERK   I
                                                          U.S. DISTRICT COURT   j
                                                          ATTN: FINANCE DEPARTMENT
                                                          225 CADMAN PLAZA EAST  \
                                                          BROOKLYN, NEW YORK 11201




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